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             EXHIBIT 9
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                                                                           50
 1   necessity during different time periods.

 2               I believe the first time period that we will

 3   be interested in is in the period 1994 to 1996.              And

 4   I'll get to that in just a second.

 5               Now, the adverse events that are noted in this

 6   report that appear in either quarterly or annual reports

 7   or in PSURs, we are able to access those and address

 8   those in our office.

 9               Where I turn to Mr. Altman's expertise are in

10   the -- are in the large databases that are relied upon

11   in doing -- conducting pharmacovigilance work.              So that

12   would include the Pfizer's -- Pfizer's internal

13   database.    And, for example, he would have been involved

14   in the work that we did in -- the first time period of

15   relevance is '94 to '96.

16        Q.     Would you please tell me the charts which he

17   pulled for you, please.

18        A.     He filtered the data that would have been

19   involved in -- on page 69 of my report, page 70, 71, 72,

20   which are the filter of the top 25 adverse events during

21   that relevant time period in the database across all

22   body systems.     And that would proceed to 72, 73, 74.

23               Beginning on page 75, which is paragraph 117,

24   we turn then to the various available databases,

25   independent available databases.          During this timeframe


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                                                                           51
 1   with the U.S. Government, it would have been the SRS --

 2        Q.     Who did --

 3        A.     -- system.

 4        Q.     Who -- who pulled the data on -- and did the

 5   analysis for paragraph 117 on page 75?

 6        A.     Mr. Altman.

 7        Q.     Mr. Altman did?

 8        A.     Yes.    This is from the FDA's database.           It's

 9   maintained by -- I think it's maintained by NTIS.

10        Q.     So just so I understand, the tables on 69, 70,

11   71, 72, 73, 74, and page 75 were prepared by Mr. Altman,

12   correct?

13        A.     He provided me with the numbers of events.

14   The tables were actually prepared here.

15        Q.     What did you do -- let's just take page 75.

16   What -- describe what you personally did to prepare

17   Table -- the table on page 75.

18        A.     Okay.    This is in 1994, which would have been

19   the first marketed year of Neurontin in the

20   United States, so Pfizer would be submitting quarterly

21   reports during that timeframe.          So we pulled the terms

22   that we were interested in having filtered by Mr. --

23   Mr. Altman from the FDA's database.           We gave him the

24   terms that we were interested in.           He gave me the number

25   of reports.


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                                                                           53
 1        Q.     You don't know who prepared this.           Who

 2   provided the terms?

 3        A.     We provided the terms.

 4        Q.     You directed the terms and he went -- he or

 5   you -- on this, on page 76 -- went into the database to

 6   extract it?

 7        A.     Yes, it's a little different with the World

 8   Health Organization.       When you receive the database from

 9   them, they send you the entire database, so it's a

10   matter of going through and extracting from a whole --

11   you don't -- you don't have the opportunity to do it by

12   body systems.      They send you everything.

13        Q.     Do you have -- okay.

14               Do you have the database that was provided to

15   you from World Health Organization in your possession;

16   that was used to create this table on page 76?

17        A.     Yes, and I have put that on this disk as well.

18        Q.     And that would be referring to Exhibit No. 3?

19        A.     Yes.

20        Q.     Thank you very much.

21               All right.     Why don't you continue to review

22   the report just as to what you -- so -- what you

23   prepared.

24               Right now, we have Mr. Altman preparing 69,

25   70, 71, 72, 73, 74, 75, and 76, correct?


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                                                                           54
 1                MR. FROMSON:     Just note my objection as to the

 2        form in terms of the use of the word "prepare."

 3                MR. BARNES:    "Filtered" was her room -- word.

 4        "Filtered."      I'll --

 5                THE WITNESS:     Yes.   And just to clarify, I

 6        would have to check if we -- if we did the World

 7        Health Organization or if he did it.

 8   BY MR. BARNES:

 9        Q.      You'll check on that for me?

10        A.      Yes, I will.

11        Q.      Okay.   Now, when you -- Mr. Fromson noted an

12   objection.     What do you mean by Mr. -- by using the

13   phrase Mr. Altman filtered the information for you, what

14   does that mean?

15        A.      Well, my understanding of the FDA and some of

16   these other databases is they are huge databases.               The

17   word "filter" is simply my way of asking him to apply

18   the rules and the conditions that he has established in

19   evaluating the database and calculating the number of

20   specific events at -- at this designated time periods.

21        Q.      What are the rules that Mr. Altman established

22   in querying the databases to get the number of events?

23        A.      Well, we out -- we outline these.          When we

24   submit, for example, to the Food and Drug

25   Administration, we give a complete list of what he does.


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                                                                           86
 1   What was -- what was the assignment?

 2        A.     Okay.    We were interested in all -- at all the

 3   relevant time periods of examining the IND or NDA

 4   quarterly or annual reports that were given to us or the

 5   PSURs that were available in the database.             So those

 6   were accessed and we were interested in psychobiological

 7   and suicide-related terms.

 8               And there are line listings in each of those

 9   reports, or on most of those reports.            Those line

10   listings are in there and they were simply extracted

11   from those tables and made into a neat, tidy table that

12   covered the NDA for whatever the -- individual NDAs or

13   INDs for whatever this section covered, whatever

14   relevant time period.

15        Q.     Who actually made the determination that a

16   event was a psychobiological adverse event?

17        A.     We used the same terms throughout the report

18   and we took the terms from the terms that were in the

19   NDA reviews or in Pfizer's reviews.

20        Q.     Okay.    We'll come back to that.         Continue.

21   Page -- you were up to page 114.

22               Then how about the AERS database discussion on

23   page 116, 117, 118, who prepared those?

24        A.     Beginning on 116, Mr. Altman.

25        Q.     And did -- not to short-circuit the questions,


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                                                                           88
 1        tried very hard to give an overview of all

 2        available databases.        And while we're always

 3        interested in the FDA's database and Pfizer's

 4        internal database, it is not critical to -- I would

 5        have the same opinion whether those databases were

 6        in my report or not.

 7                I also have no idea of the error in the Pfizer

 8        database, so I simply assumed that the data they

 9        gave me simply used the data that Pfizer gave me,

10        because I'm interested in their data changes over

11        time.     But I -- I have no idea what the internal

12        error rate in the Pfizer database over time.

13   BY MR. BARNES:

14        Q.      That's not my question.

15        A.      But I use the Pfizer database as well as I use

16   the FDA database.

17        Q.      Well, we're -- we're not to the Pfizer

18   database yet.

19        A.      Well, we discussed it in the past and --

20        Q.      Well, but my question is as to Mr. Altman's

21   work product.

22                If Mr. Altman's analyses and work product were

23   some way inaccurate as to the tables based on the Pfizer

24   database or the SRS database and report, would that

25   be -- you would -- your report be the same with or


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                                                                           89
 1   without the database analysis for FDA and the Pfizer

 2   internal database?       Is that your testimony?

 3               MR. FROMSON:      Objection as to form.

 4               THE WITNESS:      Well, I relied not only on the

 5        Pfizer database, but when Pfizer redid the database

 6        in 2004.

 7               Yes, my -- I would have the same opinion.

 8   BY MR. BARNES:

 9        Q.     So just so I understand, so if Mr. Altman's

10   work with regard to the FDA database and the Pfizer

11   database is inaccurate, wrong, that would not change

12   your opinions?

13               MR. FROMSON:      Objection as to form.

14               THE WITNESS:      Well, you know, I --

15               MR. FROMSON:      And to the extent it's already

16        been asked and answered.

17               I'm sorry.     Go ahead.

18               THE WITNESS:      I mean, if Mr. Altman had missed

19        that there were 50 additional suicides in the

20        Pfizer database or 50 or a hundred additional

21        suicides in the FDA's database, I may modify my

22        opinion somewhat as far as wherever I gave a

23        specific number, but the general nature of my

24        opinion would not change.

25   BY MR. BARNES:


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                                                                           91
 1   to form your opinions with regard to signals?

 2           A.    Well, it's almost an impossible question to

 3   answer.      We are required to assess the SRS database for

 4   signals.      I mean, FDA has criteria on how one data mines

 5   the database.         So, yes, it's important to me, but we

 6   additionally mined the WHO database and we looked at the

 7   mining efforts of your client in their internal database

 8   and in the materials they redid in 2004.            So my opinion

 9   is not dependent on any one issue.

10                 And if, as you read the conclusions, I go

11   across -- I conduct pharmacovigilance across databases,

12   not dependent on one database.           Now, if one database

13   were remarkably different than the other one, we might

14   go back and check that again.

15           Q.    Okay.     Let's move on.    One --

16           A.    What page are you on?

17           Q.    120, I think, is my next table.         Who prepared

18   that?

19           A.    This is the internal database, and I believe

20   this was Mr. Altman on through 120 -- let's see -- 127.

21           Q.    So from 120 to 127 are various tables of

22   reports of adverse events that Mr. Altman extracted from

23   the Pfizer internal database between 1996 and 2002,

24   correct?

25           A.    Yes.


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                                                                            92
 1         Q.    And, again, did you audit or in any way

 2   validate the work product you received from Mr. Altman

 3   on pages 120 to 127?

 4         A.    No.

 5         Q.    Okay.    What's on 128?       This is PSURs, annual

 6   reports?    Or is this the internal Pfizer adverse event

 7   database?

 8         A.    No, this is not -- this isn't PSUR.            These

 9   are -- this is the internal database.

10         Q.    So then, again, this is Mr. Altman's work,

11   correct, on 128?

12         A.    Yes.    And these are for -- well, in part.

13               Your client did a partial amplification of

14   their label in '96 to include some additional

15   postmarketing events.        And the ones listed on the page

16   are the ones that Pfizer chose to put into the package

17   insert at that timeframe.

18         Q.    You say the word "Pfizer" in 1997.            Is it your

19   testimony that Pfizer, Inc., modified the label in 1997?

20         A.    Well, I think they -- I'm using "Pfizer" to

21   refer to them all.       I think Pfizer came in around 2000,

22   but when I say "Pfizer," I'm referring to Parke-Davis

23   and Warner-Lambert.

24         Q.    Is it important to you to be accurate in the

25   way you -- you testify in terms of what corporation,


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                                                                            102
 1   products as percent reports.          Both of these tables were

 2   done by Mr. Altman.

 3         Q.     Who directed that these tables be prepared?

 4         A.     The table in 194 is a table across comparisons

 5   of different antiepileptic drugs.           It's a standard way

 6   that we have tried to pictorially present the data that

 7   we looked at earlier in comparison to other sister

 8   drugs.     I asked that that be done.

 9         Q.     And so you directed this analysis?

10         A.     Yeah, this is a routine analysis for us in our

11   work when we're -- when we have drugs that are part of a

12   class.

13                And I had -- page 195 is a comparison from

14   another trial -- another project that I guess Mr. Altman

15   is working on.        But it illustrated the same sort of

16   separation within a class.

17         Q.     So Mr. Altman prepared this chart on page 195,

18   correct?

19         A.     Yeah, well, he did 194 and 195.

20         Q.     Did both of them?

21         A.     Right.

22         Q.     Okay.     Did you do any independent work to

23   validate the graph on page 194 or on page 195?

24         A.     No.

25         Q.     And so you don't know if there is a rate of


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